Case 1:04-cr-10013-.]DT Doc_ument 86 Filed 08/03/05 Page 1 of 3 Page|D 97
UNITED STATES DISTRICT COURT

7-Ron 12 -
aiss)

for

WESTERN DISTRICT OF TENNESSEE

Docket No. 1:04CR] 0013-002

MATTHEW C. WHITLEY

Petition on Probation and Supervised Release
PROBATION OFFICER OF THE COURT

who was placed on

Matthew C. Whitiey
Jacl<son TN , on the B day

the

 

COMES NOW Gwendolyn E. Kearns
presenting an ojj‘icial report upon the conduct and attitude of
James D. Todd sitting in the Court at
two{Zlyears , and imposed

supervision by the Honorable
2005 , who fixed the period of supervision at
general terms and conditions theretofore adopted by the court and also imposed special conditions and terms as follows.'

of April ,

The defendant shall participate as directed in a program ( outpatient and/or inpatient) approved by the Probatian Oj']icer for
treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection of substance use or abuse.
Furiher, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined

reasonable by the Probation Ojicer.
The defendant shall cooperate with the United States Probation Ojj'ice in the collection of DNA.

Special Assessment.' 5 l 00. 00

(Il` short insert herc; if lengthy write on separate sheet and attach)

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT F()R CAUSE AS FOLLOWS:

SEE ATTACHED MEMORANDUM.

PRAYING 'I`HAT THE COURT WILL ORDER the immediate issuance of a Supervised Release Violation Warrant.

 

53 ,1_1
d .
§§ §

¢ §§
ca
.o
z S/
99
m .O
'*4 C)

Th|s document entered on the docket sheet ln compliance

with ama 55 and!or 32(b) FRCrP on

Case 1:04-cr-10013-.]DT Document 86 I|HQMQQAQ§MB§QQ,QIM§W E§@Q{Q 98

foregoing is true and correct

 

ORDER OF COURT Respectfully,
Co ' ered and ordered this § Doy Q,O? m(j\\
of , 005, and or eredjiled Gwendo@l E. l§barns `<"'/ \
and ma e apart of the records in the above U.S. Pro ation Oji`cer

CGS€.

Piuce_- Jackson, TN

%W,/ b . %M Daie.- Juiy 26, 2005

/yl’Honorable James b Todd,
' Chier.S. District Judge

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 86 in
case 1:04-CR-100]3 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Richard L. Finney

HARDEE MARTIN DAUSTER & DONAHOE
213 E. Lafayette

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

